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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 COALITION FOR HUMANE IMMIGRANT RIGHTS, et
 al.,

     Plaintfffs,

     V.                                                              Case No.: 1 :25-cv-0872

 KRISTI NOEM, in her official capacity as Secretary of
 Homeland Security, et al.,

     Defendants.


                       DECLARATION OF MEGHAN DUPUIS MAURUS

I, Meghan DuPuis Maurus, upon my personal knowledge, hereby declare as follows:

   I . I am over the age of 18 and competent to testify to the facts and matte:-s set forth herein.

   2. I am an attorney at Border Butterflies Project, a coalitional project of LGBT

          organizations including the Transgender Law Center, the Black LGBTQIA+ Migrant

          Project, and Familia TQLM, and I am an attorney in good standing of the State Bars of

          New York and New Jersey. I represent J.A.L.M., a citizen of Hondura3 who arrived in the

          United States on September 3, 2024, at Eagle Pass, Texas, after appearing at a port of

          entry pursuant to an appointment that he received using the mobile application formerly

          known as CBP One. On that date, J.A.L.M. was paroled into the United States and

          provided a Notice to Appear (NTA) and other documents. Attached aE. Exhibit A to this

          declaration is a true and correct copy of J.A.L.M. 's Notice to Appear with all personally

          identifiable information redacted.

   3. J.A.L.M. went to live with family members at the address in Kearns, Utah that he had

          provided to government personnel at the border. With the help of a ccmmunity
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                      EXHIBIT A




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                      EXHIBIT B




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                     EXHIBIT C




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                     EXHIBIT D




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                      EXHIBIT E




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                               UNITED STATES DEPARTMENT OF JUSTICE
                             EXECUTIVE OFFICE FOR IMMIGRATION REVIEW
                                 SALT LAKE CITY IMMIGRATION COURT

Respondent Name:                                         A-Number:

                                                         Riders:
To:
                                                         In Removal Proceedings
      Maurus, Meghan DuPuis                              Initiated by the Department of Homeland Security
      2364 paseo de las Americas                         Date:
      104-301                                            04/28/2025
      San Diego, CA 92154



                               ORDER ON MOTION TO DISMISS


       ✓ The Respondent         the Department of Homeland Security      the parties jointly has/have
      filed a motion to dismiss these proceedings under 8 CFR 1239.2(c). The moving party has given
      notice of the motion to the non-moving party and the court has provided the non-moving party
      with an opportunity to respond. The motion is ✓ opposed        unopposed.

      After considering the facts and circumstances, the immigration court orders that the motion to
      dismiss is:

       ✓ Granted without prejudice
          Denied



      Further explanation:

       On April 8, 2025, the Department of Homeland Security (DHS) filed its Motion to Dismiss
       Without Prejudice. It states that the respondent is removable under INA section 235(b)(1). It
       seeks to remove the respondent as per that authority. Accordingly, it seeks dismissal without
       prejudice because circumstances have changed since the issuance of the Notice to Appear
       (NTA), namely that continuation of these removal proceedings is no longer in the interest of
       the government.

       On April 10, 2025, the respondent filed his Opposition to DHS’s Motion to Dismiss. He states
       that DHS failed to make a good faith effort to ascertain the respondent’s position on the
       motion. It objects to dismissal because DHS has failed to establish circumstances in this
       particular case that have changed since the issuance of the NTA. The respondent fears that the
       merits of his case will not be heard if placed into expedited removal and that he will face harm
       upon return to his country. He asserts that he has a right to have his claims for protection
       adjudicated on their merits. Respondent says he will lose the opportunity to have his case
       heard in an appropriate venue if dismissal is allowed. He believes that DHS cannot lawfully
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pursue expedited removal at this stage. He also argues, among other things, that dismissal is
not an efficient use of the government’s limited resources.

The Court has considered all arguments presented by both sides. Previously, DHS elected to
place this respondent into removal proceedings rather than expedited removal as it probably
should have done from the beginning. Its election has caused resources to be spent by multiple
agencies and by the respondent in furtherance of these proceedings. Yet there is no authority
that states DHS is prohibited from changing its election. Indeed, recent authority (Designating
Aliens for Expedited Removal, 90 Fed. Reg. 8139 (Jan. 24, 2025)) reaffirms the application of
Congress’s explicit authorization of DHS’s categorization of aliens to whom expedited
removal procedures may be applied. The exercise of that authority is within “the sole and
unreviewable discretion” of DHS and may be modified at any time. INA section 235(b)(A)(A)
(iii)(I). Accordingly, DHS is allowed to end these removal proceedings and institute expedited
removal.

As for any due process concerns the Court finds the respondent is not entitled to
commencement or continuation of removal proceedings to regularize his status through
adjudication of a discretionary application for relief. See INA section 240A(b)(1); Matters of
Jaso & Ayala, 27 I&N Dec. 557 at 559 (BIA 2019). This is a significant factor that weighs in
favor of the DHS request. Moreover, the INA does not include “a judicially enforceable duty
to proceed within a reasonable time.” Kowalczyk v. INS, 245 F.3d 1143, 1150 n.5 (10th Cir.
2001).

Nor is the respondent precluded from seeking asylum and its related protections. In expedited
removal, when he expresses his fear of persecution or torture, or a fear of return to his country,
the inspecting officer shall not proceed further with his removal until he has been referred to
an asylum officer. 8 CFR section 235.3(b)(4).

Accordingly, the government’s motion to dismiss these proceedings is hereby GRANTED.



IT IS SO ORDERED.
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                                                   Immigration Judge: NELSON, DOUGLAS 04/28/2025



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Respondent Name :                                         | A-Number :
Riders:
Date: 05/01/2025 By: Recinos, Nuvia, Court Staff
